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                                            IN THE UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                              )          COURT MINUTES - CRIMINAL
                                                       )               BEFORE: Becky R. Thorson
                                   Plaintiff,          )                  U.S. Magistrate Judge
                                                       )
   v.                                                  )   Case No:           21-mj-386 JTH
                                                       )   Date:              May 24, 2021
Mark Anthony Scerbo,                                   )   Court Reporter:    Carla Bebault
                                                       )   Video Conference
                                   Defendant.          )   Time Commenced:    11:01 a.m.
                                                           Time Concluded:    11:57 a.m.
                                                           Time in Court:     56 minutes



                 X PRELIMINARY/DETENTION HRG
                    Time in Court Prelim/Det: 28 minutes/ 28 minutes

APPEARANCES:
   Plaintiff: Miranda Dugi, Assistant U.S. Attorney
   Defendant: Ryan Garry and Elizabeth Duel,
                   X Retained


On            X Complaint

X Deft Ordered Detained - Govt to submit proposed order

X Probable cause found. Deft bound over to District Court of Minnesota



Additional Information:
X Defendant consents to this hearing via video conference.


                                                                                                          s/SAE
                                                                                  Signature of Courtroom Deputy




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